             Case 24-41977-mxm7                   Doc 1      Filed 06/06/24 Entered 06/06/24 05:47:16                               Desc Main
                                                            Document     Page 1 of 33

Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Tres Peliculas, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  320 W. Las Colinas Blvd., Blgd. 2
                                  Irving, TX 75039
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Dallas                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.drafthouse.com/dfw


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
             Case 24-41977-mxm7                       Doc 1       Filed 06/06/24 Entered 06/06/24 05:47:16                                     Desc Main
                                                                 Document     Page 2 of 33
Debtor    Tres Peliculas, LLC                                                                           Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5121

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                     The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                      noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                   $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                              operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                                exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                  The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                  debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                  When                                  Case number
                                                 District                                  When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 2
             Case 24-41977-mxm7                           Doc 1       Filed 06/06/24 Entered 06/06/24 05:47:16                                  Desc Main
                                                                     Document     Page 3 of 33
Debtor    Tres Peliculas, LLC                                                                             Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      See Attachment                                                Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal              Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.

                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                                                     320 W. Las Colinas Blvd., Bldg. 2
                                                    Where is the property?           Irving, TX, 75039-0000
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No

                                                       Yes.     Insurance agency     Hempkins Insurance Agency
                                                                Contact name
                                                                Phone                903-463-6251


          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                              50-99                                            5001-10,000                                 50,001-100,000
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion



Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
            Case 24-41977-mxm7             Doc 1        Filed 06/06/24 Entered 06/06/24 05:47:16                       Desc Main
                                                       Document     Page 4 of 33
Debtor   Tres Peliculas, LLC                                                           Case number (if known)
         Name


16. Estimated liabilities      $0 - $50,000                               $1,000,001 - $10 million              $500,000,001 - $1 billion
                               $50,001 - $100,000                         $10,000,001 - $50 million             $1,000,000,001 - $10 billion
                               $100,001 - $500,000                        $50,000,001 - $100 million            $10,000,000,001 - $50 billion
                               $500,001 - $1 million                      $100,000,001 - $500 million           More than $50 billion




Official Form 201                    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        page 4
Case 24-41977-mxm7   Doc 1    Filed 06/06/24 Entered 06/06/24 05:47:16   Desc Main
                             Document     Page 5 of 33
             Case 24-41977-mxm7                   Doc 1    Filed 06/06/24 Entered 06/06/24 05:47:16                               Desc Main
                                                          Document     Page 6 of 33
Debtor     Tres Peliculas, LLC                                                               Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF TEXAS

Case number (if known)                                                   Chapter      7
                                                                                                                           Check if this an
                                                                                                                           amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Cinco Peliculas, LLC                                                    Relationship to you                affiliate
District   Northern District of Texas                 When     6/6/24              Case number, if known
Debtor     Dos Peliculas, LLC                                                      Relationship to you                affiliate
District   Northern District of Texas                 When     6/6/24              Case number, if known
Debtor     Iced Tea with Lemon, LLC                                                Relationship to you                affiliate
District   Northern District of Texas                 When     6/6/24              Case number, if known
Debtor     Seis Peliculas, LLC                                                     Relationship to you                affiliate
District   Northern District of Texas                 When     6/6/24              Case number, if known
Debtor     Two is One, One is None                                                 Relationship to you                affiliate
District   Northern District of Texas                 When     6/6/24              Case number, if known
Debtor     Woodbury Alamo, LLC                                                     Relationship to you                affiliate
District   Northern District of Texas                 When     6/6/24              Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 6
           Case 24-41977-mxm7                    Doc 1      Filed 06/06/24 Entered 06/06/24 05:47:16                                Desc Main
                                                           Document     Page 7 of 33
B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                              Northern District of Texas
 In re       Tres Peliculas, LLC                                                                              Case No.
                                                                              Debtor(s)                       Chapter       7

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 14,285.71
             Prior to the filing of this statement I have received                                        $                 14,285.71
             Balance Due                                                                                  $                       0.00

2.   The source of the compensation paid to me was:
                  Debtor             Other (specify):      Debtor Iced Tea with Lemon, LLC paid $100,000.00 for the filing of the chapter 7
                                                           cases of all affiliates. The source was a loan to all debtors from principal
                                                           William D. DiGaetano for filing of all debtors chapter 7 cases. Prior to being
                                                           engaged to file Chapter 7, Polsinelli represented the entities in regard to
                                                           potential workouts with franchisor and landlords over the preceding year and
                                                           was paid $74,107.00 in total on behalf of all entities.

3.   The source of compensation to be paid to me is:
                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]


6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:

                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     May 31, 2024                                                             /s/ Katherine M. Devanney
     Date                                                                     Katherine M. Devanney
                                                                              Signature of Attorney
                                                                              Polsinelli PC
                                                                              222 Delaware Avenue
                                                                              Suite 1101
                                                                              Wilmington, DE 19801
                                                                              302-252-0920 Fax: 302-252-0921
                                                                              kdevanney@polsinelli.com
                                                                              Name of law firm
         Case 24-41977-mxm7         Doc 1    Filed 06/06/24 Entered 06/06/24 05:47:16                Desc Main
                                            Document     Page 8 of 33



                                        United States Bankruptcy Court
                                               Northern District of Texas
 In re   Tres Peliculas, LLC                                                        Case No.
                                                           Debtor(s)                Chapter    7




                               CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Tres Peliculas, LLC in the above captioned action, certifies that the following is a
(are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




May 31, 2024                                   /s/ Katherine M. Devanney
Date                                           Katherine M. Devanney
                                               Signature of Attorney or Litigant
                                               Counsel for Tres Peliculas, LLC
                                               Polsinelli PC
                                               222 Delaware Avenue
                                               Suite 1101
                                               Wilmington, DE 19801
                                               302-252-0920 Fax:302-252-0921
                                               kdevanney@polsinelli.com
Case 24-41977-mxm7   Doc 1    Filed 06/06/24 Entered 06/06/24 05:47:16   Desc Main
                             Document     Page 9 of 33
Case 24-41977-mxm7   Doc 1     Filed 06/06/24 Entered 06/06/24 05:47:16   Desc Main
                             Document      Page 10 of 33
Case 24-41977-mxm7   Doc 1     Filed 06/06/24 Entered 06/06/24 05:47:16   Desc Main
                             Document      Page 11 of 33
Case 24-41977-mxm7   Doc 1     Filed 06/06/24 Entered 06/06/24 05:47:16   Desc Main
                             Document      Page 12 of 33
  Case 24-41977-mxm7       Doc 1     Filed 06/06/24 Entered 06/06/24 05:47:16   Desc Main
                                   Document      Page 13 of 33


Alamo Drafthouse Cinemas, LLC
3908 Avenue B
Austin, TX 78751


Atmos Energy
PO Box 790311
St. Louis, MO 63179-0311


Bill.com
6220 America Center Dr., Ste 100
San Jose, CA 95002


Central Insurance Companies
PO Box 828
Van Wert, OH 45891-0828


Fintech
3109 W MLK Jr Blvd Ste 200
Tampa, FL 33607


Ironedge Group LTD
3000 Wilcrest Drive Ste. 300
Houston, TX 77042


NRG Business
PO Box 660749
Dallas, TX 75266-0749


Nuco2
PO Box 9011
Stuart, FL 34995


Spectrum - Coax
PO Box 60074
City of Industry, CA 9176-0074


Spectrum – Fiber
PO Box 60074
City of Industry, CA 91716-0074
  Case 24-41977-mxm7     Doc 1     Filed 06/06/24 Entered 06/06/24 05:47:16   Desc Main
                                 Document      Page 14 of 33


SVS Network
101 Bullitt Lane
Louisville, KY 40222


TXU Energy
PO Box 650638
Dallas, TX 75265-0638


Worldpay / FISGlobal
8500 Governors Hill Dr.
Symmes Township, OH 45249


Amazon.com
410 Terry Ave N
Seattle, WA 98109


Lawton Commercial Services
PO Box 1179
McKinney, TX 75070


Mood Pandora
2100 S IH 35 Frontage Rd, Suite 201
Austin, TX 78704


Presto-X / Rentokil
PO Box 13848
Reading, PA 19612-3848


Tech Service Today
1903 S Congress Ave, Ste. 305
Boynton Beach, FL 33426


Ushio America, Inc
5440 Cerritos Dr.
Cypress, CA 90630


Andrews Distributing
2730 Irving Boulevard
Dallas, TX 75207
  Case 24-41977-mxm7       Doc 1     Filed 06/06/24 Entered 06/06/24 05:47:16   Desc Main
                                   Document      Page 15 of 33


Ben E. Keith Beverages
7001 Will Rogers Boulevard
Fort Worth, TX 76140


Favorite Brands
3900 North McColl Road
McAllen, TX 75801


Flood Distribution LLC
4221 Freidrich Lane, Ste. 120
Austin, TX 78744


Fullclip Craft Distributors
3148 Quebec St.
Dallas, TX 75247


Green Light Distribution
555 Airline Dr. No. 100
Coppell, TX 75019


Oak Cliff Brewing Co.
1300 S Polk St., No. 222
Dallas, TX 75224


Oak Highlands Brewery
10484 Brockwood Road
Dallas, TX 75238


Peticolas Brewing Company
1301 Pace St.
Dallas, TX 75207


Republic National Distributing Company
1010 Isuzu Pkwy
Grand Prairie, TX 75050


Rollertown Beerworks
412 North Oklahoma Dr. Ste. 106
Celina, TX 75009
  Case 24-41977-mxm7       Doc 1     Filed 06/06/24 Entered 06/06/24 05:47:16   Desc Main
                                   Document      Page 16 of 33


Southern Glazer's
14875 Landmark Blvd. Ste. 100
Dallas, TX 75254


Spec’s Family Partners
2410 Smith Street
Houston, TX 77006


Twisted Alchemy
PO Box 734705
Chicago, IL 60673


A24 LLC
31 W 27th St. 11th Floor
New York, NY 10001


Abramaorama LLC
450 Manville Road
Pleasantville, NY 10570


AGFA
3908 Avenue B
Austin, TX 78751


Angel Studios
295 W. Center Street
Provo, UT 84601


Bleecker Street Media LLC
116 East 27th Street, Fifth Floor
New York, NY 10016


Briarcliff Entertainment LLC
425 11th Street
Santa Monica, CA 90402


Cinelife
11601 Wilshire Blvd, Ste. 210
Los Angeles, CA 90025
  Case 24-41977-mxm7       Doc 1     Filed 06/06/24 Entered 06/06/24 05:47:16   Desc Main
                                   Document      Page 17 of 33


Crunchyroll, LLC.
3501 Olympus Blvd. Suite 400
Coppell, TX 75019


Disney
500 S. Buena Vista Street
Burbank, CA 91521


Emick Media LLC
5313 Quakertown Ave.
Woodland Hills, CA 91364


FilmRise
220 36th Street, 4th Floor, Unit No. 78
Brooklyn, NY 11232


Giant Pictures LLC
133 W 19th St., 5th FL
New York, NY 10011


GKIDS, Inc
20 River Terrace Suite 21A
New York, NY 10282


IFC FIlms LLC
11 Penn Plaza
New York, NY 10001


It Came From Richmond, LLC
407 Pinewood Dr.
Conroe, TX 77385


Janus Films Company
250 East Hartsdale Ave., Ste. 42
Hartsdale, NY 10530


Kino Lorber, Inc.
333 W. 39th St. Suite 503
New York, NY 10018
  Case 24-41977-mxm7       Doc 1     Filed 06/06/24 Entered 06/06/24 05:47:16   Desc Main
                                   Document      Page 18 of 33


Lionsgate Films Inc.
PO Box 29159
New York, NY 10087-9159


MGM-Metro-Goldwyn-Mayer Studios, Inc.
245 N. Beverly Drive, 4th Floor
Beverly Hills, CA 90210


Mirror Releasing LLC
812 N Robertson Blvd.
West Hollywood, CA 90069


MUBI, Inc.
1209 Orange Street
Wilmington, DE 19801


Music Box Theatre
173 N. Morgan Street
Chicago, IL 60607


Neon Films
P.O. Box 647004
Dallas, TX 75264-7004


Netflix Studios, LLC
100 Winchester Circle
Los Gatos, CA 95032


Oscilloscope Pictures
140 Havemeyer Street
Brooklyn, NY 11211


Outsider Pictures II LLC
1127 9th Street No. 104
Santa Monica, CA 90403


Paramount Pictures Corporation
5555 Melrose Avenue
Los Angeles, CA 90038
  Case 24-41977-mxm7       Doc 1     Filed 06/06/24 Entered 06/06/24 05:47:16   Desc Main
                                   Document      Page 19 of 33


Park Circus
2060-D E. Avenida De Los Arboles
Suite 369
Thousand Oaks, CA 91362


Prathyangira Cinemas LLC
624 Howard Avenue No. 117
Montebello, CA 90640


Rainbow Releasing
844 25th Street
Santa Monica, CA 90403


Rialto Pictures LLC
45 East 72nd Street16A
New York, NY 10021


Sentai Filmworks LLC
10114 W Sam Houston Pkwy S
Houston, TX 77099


Shorts International Ltd.
2801 Ocean Park Blvd. No. 343
Santa Monica, CA 90405


Sony Pictures Classic
PO Box 281819
[_________] GA 30384-1819


Sony Pictures Releasing
10202 West Washington Blvd.
Culver City, CA 90232


Strand Releasing
6140 W. Washington Blvd.
Culver City, CA 90232


Trafalgar Releasing Ltd.
222 Broadway 19th Fl
New York, NY 10038
  Case 24-41977-mxm7       Doc 1     Filed 06/06/24 Entered 06/06/24 05:47:16   Desc Main
                                   Document      Page 20 of 33




Universal Pictures
P.O. Box 848270
Dallas, TX 75284-8270


Utopia Select LLC
8850 E. Cloudview Way
Anaheim, CA 92808

Variance Films, Inc.
188 Springfield Ave.
Rutherford, NJ 07070


Viva Entertainment, LLC.
71 Arizona Ave.
Old Bridge, NJ 08857-4318


Warner Bros.
P.O. Box 936193
Atlanta, GA 31193-6193


WC Redux LLC
612 West Ridgewood Road
Georgetown, TX 78633


Yash Raj Films USA Inc.
272 Dunns Mill Road No. 329
Bordentown, NJ 08505


A&A Active Backflow LLC
1611 N IH 35E, Suite 410
Carrollton, TX 75006


Action Lock Doc
1245 N. Plano Rd.
Richardson, TX 75081


Alsco
1340 East Berry St.
Fort Worth, TX 76119
  Case 24-41977-mxm7    Doc 1     Filed 06/06/24 Entered 06/06/24 05:47:16   Desc Main
                                Document      Page 21 of 33


BTH Bank
6657 Old Jacksonville Hwy
Tyler, TX 75703


Cannon Gentry
4621 Bucknell Drive
Garland, TX 75042


Cintas Corporation
PO Box 631025
Cincinnati, OH 45263-1025


City of Irving
825 W. Irving Blvd. Second Floor
Irving, TX 75060


Cold Tex Refrigeration LLC
3175 US Hwy 175
Kaufman, TX 75142


Convergint Technologies LLC
35257 Eagle Way
Chicago, IL 60678-1352


Coolwaters Productions LLC
4400 W. Riverside Dr. Suite 110-531
Burbank, CA 91505-4046


Cozzini Bros, Inc.
350 Howard Ave.
Des Plaines, IL 60018


CV Premier
P.O. Box 168022
Irving, TX 75016


Dallas County Utility and
Reclamation District
PO Box 140035
Irving, TX 75014
  Case 24-41977-mxm7     Doc 1     Filed 06/06/24 Entered 06/06/24 05:47:16   Desc Main
                                 Document      Page 22 of 33




Dallas Mechanical Group LLC
11925 N. Stemmons Fwy. Ste 130
Dallas, TX 75234


Darling Promo
P.O. Box 27619
Austin, TX 78755


Daryl Mitchell
147-23 Edgewood Street
Rosedale, NY 11422

Deluxe Echostar LLC
2130 N. Hollywood Way
Burbank, CA 91505


Dennis Plumbing
PO Box 150536
Arlington, TX 76015


Digital Cinema Distrib. Coalition LLC
1840 Century Park East Suite 550
Los Angeles, CA 90067


Ecolab
PO Box 70343
Chicago, IL 60673


Edward Don & Company
2562 Paysphere Circle
Chicago, IL 60674


Fedex
PO Box 660481
Dallas, TX 75266


Freshpoint
4721 Simonton Rd.
Dallas, TX 75244
  Case 24-41977-mxm7      Doc 1     Filed 06/06/24 Entered 06/06/24 05:47:16   Desc Main
                                  Document      Page 23 of 33


GardaWorld
2000 Corporate Boulevard Northwest
Boca Raton, FL 33431


Gasket Guy of DFW LLC
2201 Midway Rd. Ste 324
Carrollton, TX 75006


GB Construction Group LLC
3114 SE Loop 820
Fort Worth, TX 76140


Geeks Who Drink, LLC
2400 Industrial Lane Suite 700
Broomfield, CO 80020


Hagar Restaurant Services LLC
6200 N.W. 2nd St.
Oklahoma City, OK 73127-6520


Hotschedules
PO Box 848472
Dallas, TX 75284


Irving ISD Tax Office
2621 W Airport FWY
Irving, TX 75015


Jessica Yancey
4306 Aston Lane
Mansfield, TX 76063


Jim's Climate Control
4128 Mildenhall Drive
Plano, TX 75093


John R. Ames, CTA
PO Box 139066
Dallas, TX 75313
  Case 24-41977-mxm7    Doc 1     Filed 06/06/24 Entered 06/06/24 05:47:16   Desc Main
                                Document      Page 24 of 33


Johnson Controls Fire Protection LP
Dept. CH 10320
Palatine, IL 60055-0320


Kaeser & Blair, Inc
3771 Solutions Center
Chicago, IL 60677


Kitchen Equipment Professionals
3175 US Hwy 175
Kaufman, TX 75142


Minuteman - 7010 Greenville
7010 Greenville Avenue
Dallas, TX 75231


Minuteman - 850 S Greenville
850 S. Greenville Ave., Ste 114
Richardson, TX 75081


Mission Restaurant Supply
PO Box 10310
San Antonio, TX 78210


Moving Image Technologies
17760 Newhope St. No. B
Fountain Valley, CA 92708


Music Factory Portfolio LP
250 Vesey Street, 15th Floor
New York, NY 10281


National Proserve
785 W. Wheatland Road Suite 206
Duncanville, TX 75116


NCR Local Austin
5508 Highway 290 West Suite 104
Austin, TX 78735
  Case 24-41977-mxm7      Doc 1     Filed 06/06/24 Entered 06/06/24 05:47:16   Desc Main
                                  Document      Page 25 of 33


Paychex
225 Kenneth Drive Suite 100
Rochester, NY 14623


Pro Duct Cleaning
2639 Walnut Hill Lane, Suite 200
Dallas, TX 75229


Rivercity Sportwear LLC
1709 IH 35 South
San Marcos, TX 78666


Rodeo Suplex, Inc.
9255 Sunset Blvd. No. 300
Los Angeles, CA 90069


Sacred Bones
144 N. 7th Street
Brooklyn, NY 11249


Sean Patrick Flanery
12007 Bexhill Dr.
Houston, TX 77065


Smart Care Equipment Solutions
PO Box 74008980
Chicago, IL 60674


Snagajob
32978 Collections Center Dr.
Chicago, IL 60693


Sony Electronics Inc.
One Sony Drive
Park Ridge, NJ 07656-8003


Southwest Fire & Security, LLC.
400 Industrial Blvd. Ste. 204
Mansfield, TX 76063
  Case 24-41977-mxm7       Doc 1     Filed 06/06/24 Entered 06/06/24 05:47:16   Desc Main
                                   Document      Page 26 of 33


Spices Southern Style
PO Box 20
Manor, TX 78653


Staples Inc.
PO Box 105748
Atlanta, GA 30348-5748


Strong Technical Services, Inc.
11422 Miracle Hills Drive
Omaha, NE 68154


Texas Comptroller of Public Accounts
PO Box 149354
Austin, TX 78714-9354


The Hansen Group
1770 Breckinridge Pkwy, Ste. 500
Duluth, GA 30096


Thyssenkrupp Elevator Corporation
PO Box 3796
Carol Stream, GA 60132-3796


Top Hat Provisions, LLC
1 South Park St Unit 205
San Francisco. CA 94107


Tripleseat Software LLC
50 Beharrell St. Suite B
West Concord, MA 01742


US Foods Inc.
4325 Intewood South Parkway East
Houston, TX 77032


Vortex Colorado, Inc.
20 Odyssey
Irvine, CA 92618
  Case 24-41977-mxm7       Doc 1     Filed 06/06/24 Entered 06/06/24 05:47:16   Desc Main
                                   Document      Page 27 of 33


Whitley Penn
640 Taylor St Suite 2200
Fort Worth, TX 76102


Window Cleaner Pros
5800 Preston Oaks Road Suite 1087
Dallas, TX 75254


YESCO - Houston
12810 Murphy Rd.
Stafford, TX 77477


Yesco Dallas
2860 Exchange Blvd., Ste. 160
Southlake, TX 76092


Zerorez Inc.
1000 West Crosby Road Suite 124
Carrollton, TX 75006

Abbe, Taylor
1420 W Main St
Apt 1008
Lewisville, TX 75067


Abbe, Tristan
1420 W Main St
Apt 1008
Lewisville, TX 75067


Adame, Angel
1744 E Northgate Dr
Apt 2087
Irving, TX 75062


Arabie, Aleigha
712 S Story Rd
Apt 1088
Irving, TX 75060


Arabie, Allyson
712 S Story Rd
  Case 24-41977-mxm7       Doc 1     Filed 06/06/24 Entered 06/06/24 05:47:16   Desc Main
                                   Document      Page 28 of 33


Apt 1088
Irving, TX 75060


Berry, Katherine
909 Polar Bear Drive
Irving, TX 75061


Boatman, Syris
7342 Parkridge Boulevard
Apt 471
Irving, TX 75063


Bone, Michael
201 Barrington Ln
Lewisville, TX 75067


Burton, Malachi
1239 Hartsdale Dr
Apt 1-221
Dallas, TX 75211


Camacho, Michael
4204 W Northgate Dr 205
Irving, TX 75062


Campos, Caitlyn
2701 N Grapevine Mills Blvd
Apt 412
Grapevine, TX 76051


Cayne, Casaleah
2791 Evergreen St
Irving, TX 75061


Chase, Jordan
3417 Glen Crest Dr
Denton, TX 76208


Coit, Dillon
7208 Monet Lane
Grand Prairie, TX 75054
  Case 24-41977-mxm7       Doc 1     Filed 06/06/24 Entered 06/06/24 05:47:16   Desc Main
                                   Document      Page 29 of 33




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Dawson, Kevin
1852 Sotogrande Blvd
Apt 3106
Hurst, TX 76053


Dickerson, Cody
1980 E State Highway 121
Apt 5306
Lewisville, TX 75056


Duron, Bryan
1545 Briarcliff Road
Dallas, TX 75235


Dykes, Joshua
1143 HIdden Ridge
Apt 2149
Irving, TX 75038


Emert, Jessica
2400 Stockbridge Road 2213
Denton, TX 76208


Epperson, Sierra
605 East Lamar Boulevard 212
Arlington, TX 76011
  Case 24-41977-mxm7       Doc 1     Filed 06/06/24 Entered 06/06/24 05:47:16   Desc Main
                                   Document      Page 30 of 33




Evers, Lyle
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Gonzales, Raeven
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909 East Mitchell Street
Arlington, TX 76010


Humphreys, Sheyenne
815 West Abram Street
Arlington, TX 76013


Jauregui, Andrew
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Grapevine, TX 76051


Jones, Lamarcus
4417 Ashbury Ln
Mansfield, TX 76063


Kimsey, Micah
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Irving, TX 75062
  Case 24-41977-mxm7    Doc 1     Filed 06/06/24 Entered 06/06/24 05:47:16   Desc Main
                                Document      Page 31 of 33




Kinkade, Brian
1307 Monaco Dr
Lewisville, TX 75067


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Lewis, Ronnie
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Love, Aaron
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Dallas, TX 75234


Mangin, Erin
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Hurst, TX 76054


Mendez, Brandon
1555 Nottingham Drive
Apt 12203
Denton, TX 76209


Miller, Christian
7923 Odell St
North Richland Hills, TX 76182


Montgomery, Campbell
3200 N Britain road
Irving, TX 75062


Morante, Sonia
5525 Las Colinas Boulevard
3045
Irving, TX 75039


Moume, Lemmi
  Case 24-41977-mxm7       Doc 1     Filed 06/06/24 Entered 06/06/24 05:47:16   Desc Main
                                   Document      Page 32 of 33


1622 Centenary Dr
Richardson, TX 75081


Olivarez, Christian
4701 Cedar Springs Rd
Apt 103
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Denton, TX 76201


Ortiz, Jose
2006 North O'Connor Road
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Palmer, Mason
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Grapevine, TX 76051


Paris, Erin
5315 Carnaby Street 241
Irving, TX 75038


Parish, Jimmie
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Apt 520
Irving, TX 75039


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9200 Martin Dr
North Richland Hills, TX 76182


Phillips, Gabriel
1610 Hawthorne Drive
  Case 24-41977-mxm7    Doc 1     Filed 06/06/24 Entered 06/06/24 05:47:16   Desc Main
                                Document      Page 33 of 33


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